                           Case 24-12337-KBO                Doc 665        Filed 12/04/24          Page 1 of 2


                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


             In re                                                                 Chapter 11

             TRUE VALUE COMPANY, L.L.C. et al.,                                    Case No. 24-12337 (KBO)

                              Debtors.1                                            (Jointly Administered)

                                                                                   Related Docket Nos. 12, 297, 299, 366, 367,
                                                                                   382 & 404

                      ORDER AUTHORIZING DEBTORS TO FILE UNDER SEAL CERTAIN
                          PORTIONS OF THE DECLARATION OF NICK WEBER IN
                               SUPPORT OF ENTRY OF THE SALE ORDER

                     Upon the motion (the “Motion”)2 of the Debtors for an order (this “Order”) under

         sections 105(a) and 107(b) of the Bankruptcy Code, Bankruptcy Rule 9018, and Local Bankruptcy

         Rule 9018-1(d), authorizing the Debtors to file under seal the Confidential Information; and this

         Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

         Standing Order of Reference from the United States District Court for the District of Delaware,

         dated February 29, 2012; and this Court having found that this is a core proceeding pursuant to

         28 U.S.C. § 157(b)(2), and that this Court may enter a final order consistent with Article III of the

         United States Constitution; and this Court having found that venue of this proceeding and the

         Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and due and sufficient

         notice of the Motion having been given under the particular circumstances; and it appearing that

         no other or further notice is necessary; and it appearing that the relief requested in the Motion is



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               The Debtors in these chapter 11 cases, along with the last four digits of their respective tax identification numbers,
               are as follows: True Value Company, L.L.C. (9896); TV Holdco II, L.L.C. (2272); TV TSLC, L.L.C. (7025); TV
               GPMC, L.L.C. (8136); True Value Retail, L.L.C. (7946); TrueValue.com Company, L.L.C. (6386); True Value
               Virginia, L.L.C. (9197); and Distributors Hardware, L.L.C. (8106). The address of the Debtors’ corporate
               headquarters is 8600 W. Bryn Mawr Ave. Chicago, IL 60631.
         2
               Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Motion.

32373291.2
                       Case 24-12337-KBO           Doc 665      Filed 12/04/24      Page 2 of 2


         in the best interests of the Debtors, their estates, their creditors, and other parties in interest; and

         after due deliberation thereon; and good and sufficient cause appearing therefor; it is hereby

                 ORDERED, ADJUDGED, AND DECREED THAT:

                 1.     The Motion is GRANTED as set forth herein.

                 2.     The Court authorizes the Debtors to file the Confidential Information under seal.

                 3.     The Confidential Information shall not be made available to anyone, except to this

         Court, the U.S. Trustee, the Prepetition Lenders, counsel to the Committee, and other parties in

         interest, each on a professional eyes only basis, as may be ordered or otherwise required by this

         Court or agreed to by the Debtors, and all parties receiving the Confidential Information shall

         maintain its confidentiality, including in connection with any pleadings filed with this Court.

                 4.     The terms and conditions of this Order shall be immediately effective and

         enforceable upon its entry.

                 5.     The Debtors are authorized and empowered to take all actions necessary to

         implement the relief granted in this Order.

                 6.     This Court shall retain jurisdiction with respect to all matters arising from or

         relating to the interpretation or implementation of this Order.




             Dated: December 4th, 2024                           KAREN B. OWENS
             Wilmington, Delaware                                UNITED STATES BANKRUPTCY JUDGE
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